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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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                                                                :
 S.G. ON BEHALF OF Z.G.,                                        :
                                                                :   ORDER
                                         Plaintiff,             :
              v.                                                :   20 Civ. 6633 (AKH)
                                                                :
 NEW YORK CITY DEPARTMENT OF                                    :
 EDUCATION,                                                     :
                                                                :
                                          Defendant.            :
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ALVIN K. HELLERSTEIN, U.S.D.J.:

         A suggestion of settlement having been made, this case is dismissed. If the settlement is

not consummated within 30 days of this order, or an authorized enlarged date, either party may

apply by letter for restoration of the action within 10 days after the close of said period. All

pending court dates are cancelled. The Clerk is directed to close the case.

                 SO ORDERED.

Dated:           January 11, 2021                                    /s/ Alvin K. Hellerstein
                 New York, New York                                 ALVIN K. HELLERSTEIN
                                                                    United States District Judge
